Case 2:20-cv-00690-KM-SCM_ Document 1_ Filed 01/21/20 Page 1 of 16 PagelD: 1
38.44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor sunplemnees the filing and service of pleadings or other papers as required by law, except as
provided local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

 

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
AINTIFF DEFE NTS .

1 Ru CeraCn und, et al. Paragon reo Inc. and TNG Associates, LLC

(b) County of Residence of First Listed Plaintiff Union County County of Residence of First Listed Defendant

(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
Susan A. Murray, Esq. & Vlad K. Kachka, Esq. - Freedman & Lorry, P.C.
1601 Market St., Suite 1500, Philadelphia, PA 19103, (215)-925-8400
smurray@freedmanlorry.com, vkachka@freedmanlorry.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "“X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1. U.S. Government 3° Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 © 1 Incorporated or Principal Place go4 a4
of Business In This State
0 2. US. Government O04 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place O05 O85
Defendant (Indicate Citizenship of Parties in Item Ill) of Business In Another State
Citizen or Subject of a GO 3 © 3 Foreign Nation o06 O86
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY __ BANKRUPTCY OTHER STATUTES ]
O 110 Insurance PERSONAL INJURY PERSONALINJURY | 625 Drug Related Seizure © 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |© 423 Withdrawal O 376 Qui Tam (31 USC
OF 130 Miller Act O 315 Airplane Product Product Liability 6 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment | 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copynghts © 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability O 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability © 368 Asbestos Personal © 835 Patent - Abbreviated O 460 Deportation
Student Loans O 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability OG _840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) O 490 Cable/Sat TV
© 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) © 850 Securities/Commodities/
O 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI © 890 Other Statutory Actions
O 196 Franchise Injury O 385 Property Damage © 740 Railway Labor Act © 865 RSI (405(g)) O 891 Agricultural Acts
© 362 Personal Injury - Product Liability 0 751 Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act O 895 Freedom of Information
| REAL PROPERTY. CIVIL RIGHTS PRISONER PETITIONS _|0 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: & 791 Employee Retirement O 870 Taxes (U.S. Plaintiff OD 896 Arbitration
OG 220 Foreclosure D 441 Voting O 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations © 530 General O 950 Constitutionality of
© 290 All Other Real Property © 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application
O 446 Amer. w/Disabilities - | 540 Mandamus & Other [0 465 Other Immigration
Other 0 550 Civil Rights Actions
O 448 Education © 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

{1 Original O2 Removed from O 3  Remanded from O 4 Reinstated or O 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes untess diversity):
29 USC 1132 and 1145

Brief description of cause:

Collection of contractually obligated contributions owed to the benefit funds

VI. CAUSE OF ACTION

 

 

 

 

 

 

VIL. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VHI. RELATED CASE(S) |
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE “SIGNATURE OF ATTORNEY OF RECORD
01/21/2020 SS a \
FOR OFFICE USE ONLY —

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:20-cv-00690-KM-SCM Document1 Filed 01/21/20 Page 2 of 16 PagelD: 2

FREEDMAN AND LORRY, P.C.

BY:

SUSAN A. MURRAY, ESQUIRE (SM-7713)
VLAD K. KACHKA, ESQUIRE (VK-7045)
1601 Market Street, 15th Floor

Philadelphia, PA 19103

(215) 925-8400

Attorneys for Plaintiffs

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ITPEU PENSION FUND, by and through its Board : CIVIL ACTION No.
of Trustees, Co-Chairmen DENNIS ARRINGTON :

and JERRY BOWDEN

216 North Ave. East, 2nd FI.

Cranford, NJ 07016,

and

ITPEU HEALTH AND WELFARE FUND, by and :
Through its Board of Trustees, Co-Chairmen
DENNIS ARRINGTON and HAROLD GELBER
25 Chatham Center South, Ste. 101

Savannah, GA 31405,

Plaintiffs,
Vv.
PARAGON SYSTEMS, INC.
13900 Lincoln Park Drive, Suite 300
Herndon, VA 20171
and
TNG ASSOCIATES, LLC
104 June Land Drive
Jarrell, TX 76537

Defendants.

COMPLAINT
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Plaintiffs, by undersigned counsel, complain about Defendants as follows:
JURISDICTION
1. This Court has jurisdiction over the subject matter of this action under LMRA, 29
U.S.C. § 185(a) and (c), ERISA 29 U.S.C. § 1132, 29 U.S.C. §1145, 28 U.S.C § 1367, and the
pendent jurisdiction of the Court.
2, A copy of this Complaint has been served on the Secretary of Labor and the

Secretary of Treasury of the United States by Certified Mail.

VENUE
3. Venue lies in the United States District Court for the District of New Jersey under
29 U.S.C. §§ 185(a) or 1132(e)(2).
PARTIES

4, Plaintiff, ITPEU Pension Fund, by and through its Board of Trustees, Co-Chairmen
Dennis Arrington and Jerry Bowden (‘Pension Fund”) is a trust fund established under 29 U.S.C.
§ 186(c)(5) and “multiemployer plans” and “employee benefit plans” within the meaning of 29
U.S.C. § 1002(37), (2)(A) and (3). Dennis Arrington and Jerry Bowden, are trustees and
fiduciaries with respect to the Pension Fund within the meaning of 29 U.S.C. § 1002 (21). They
are authorized to bring this action on behalf of all Trustees of the Pension Fund. The Pension Fund
is administered in the District of New Jersey at the address listed in the caption.

5. Plaintiff, ITPEU Health and Welfare Fund, by and through its Board of Trustees,
Co-Chairmen Dennis Arrington and Harold Gelber (“Welfare Fund”) is a trust fund established
under 29 U.S.C. § 186(c)(5) and “multiemployer plans” and “employee benefit plans” within the
meaning of 29 U.S.C. § 1002(37), (1) and (3). Dennis Arrington and Harold Gelber are trustees

and fiduciaries with respect to the Welfare Fund within the meaning of 29 U.S.C. § 1002 (21).
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They are authorized to bring this action on behalf of all Trustees of the Welfare Fund. The Welfare
Fund is administered at the address listed in the caption.

6. Defendant Paragon Systems, Inc. (hereinafter “Paragon”) is an employer in an
industry affecting commerce with the meaning of 29 U.S.C. §§ 152 (2), (6) and (7), 1002(5), (11)
and (12) with a business address as listed in the caption.

7. Defendant TNG Associates, LLC (hereinafter “TNG”) is an employer in an
industry affecting commerce with the meaning of 29 U.S.C. §§ 152 (2), (6) and (7), 1002(5), (11)
and (12) with a business address as listed in the caption.

FACTS
A. Paragon and TNG Failed to Pay Contributions Owed to the Funds.

8. The Industrial, Technical, and Professional Employees Union, OPEIU Local 4873,
AFL-CIO (“ITPEU”) is a labor organization, as defined by Section 2(5) of the National Labor
Relations Act, 29 U.S.C. § 152(5). At all times relevant to this action, Paragon and ITPEU were
parties to a Collective Bargaining Agreement which dictated the terms and conditions of
employment for a bargaining unit consisting of security guards employed by Paragon in the El
Paso, Texas vicinity under Paragon’s federal contract with the Department of Homeland Security,
Federal Protective Services (herein referred to as the “Labor Contract”). The Federal Contract
number is HSHQC7-16-D-00001. The term of the agreement began on September 1, 2016 and
ended on July 31, 2019. A true and correct of copy the Labor Contract is hereto attached as Exhibit
“yp

9. At all times relevant to this action, TNG was a subcontractor for Paragon. TNG
similarly employed security guards to provide services under the above-mentioned federal

contract. TNG and ITPEU were parties to a Memorandum of Acceptance under which TNG
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agreed the terms and conditions of employment for security guards under the Labor Contract
would apply to its own security guards employed to provide services under federal contract
HSHQC7-16-D-00001. TNG also agreed to abide by and adopt all terms imposed upon Paragon
under the Labor Contract. A true and correct of copy the Memorandum of Acceptance is hereto
attached as Exhibit 2.”

10. Paragon and TNG signed or agreed to abide by the terms of the Declarations of
Trust of the Funds as from time to time amended (“Trust Agreements”) made between certain
employers and employee representatives in an industry(ies) affecting interstate commerce to
promote stable and peaceful labor relations. Paragon and TNG, as federal contractors, were also
required to abide by the McNamara-O'Hara Service Contract Act of 1965.

11. Under the Trust Agreement or Article 15 of the Labor Contract, Paragon and TNG
agreed:

(a) To make full and timely payments on a monthly basis to the Funds as required by the
Labor Contract or Trust Agreement;

(b) To file monthly remittance reports with the Funds detailing all employees or work for
which contributions were required under the Labor Contract or Trust Agreement;

(c) To produce, upon request by the Funds, all books and records deemed necessary to
conduct an audit of their respective records concerning its obligations to the Funds; and

(d) To pay liquidated damages and all costs of litigation, including attorneys’ fees,
expended by the Funds to collect any amounts due as a consequence of their respective failure to
comply with its contractual obligations described in Subparagraphs (a), (b) and (c).

A true and correct copy of the Trust Agreements is hereto attached as Exhibit “3.”
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12. On May 3, 2019, the International Union, Security, Police and Fire Professional of
America (“SPFPA”) filed an RC petition with Region 28 of the National Labor Relations Board
(“NLRB”), which petitioned the NLRB to conduct a representation election certifying the SPFPA
as the security guards’ collective bargaining representative. During a June 24, 2019 rerun election,
the majority of voting employees voted in favor of being represented by the SPFPA. On July 3,
2019, the NLRB certified the SPFPA as the new bargaining representative for the bargaining unit.

13. Even though the Labor Contract did not terminate until July 31, 2019, Paragon and
TNG failed to make contributions to the Pension Fund and Welfare Fund for July of 2019 and to
submit contribution reports for July of 2019, delaying payment of benefits.

14. The Pension Fund and Welfare Fund continued to offer the bargaining unit’s
employees benefits throughout July 31, 2019.

15. At least five bargaining unit employees submitted health insurance claims to and
received benefits from the Welfare Fund between July 1, 2019 and July 31, 2019.

16. Pursuant the opinion of the U.S. Court of Appeal for the Seventh Circuit in Midwest
Operating Engineers Welfare Fund v. Cleveland Quarry, an employer’s obligations to a benefit
fund survives termination of a union’s right to represent employees, such as the result of
decertification or withdrawal of recognition. 844 F.3d 627 (7th Cir. 2016). The Seventh Circuit
held that, while a collective bargaining agreement is not enforceable by a labor union after the
union is no longer a bargaining unit’s bargaining representative, the agreement does not cease until
its expiration date. /d. at 630. Therefore, Paragon’s and TNG’s obligations to the Funds, as third-
party beneficiaries, continued until the Labor Contract’s termination date.

17. In a July 25, 2019 letter to Laura Hagan, Paragon’s General Counsel/Vice

President, Fund Counsel notified Paragon that the Funds expected to receive contributions for July
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of 2019 because the Labor Contract did not terminate until July 31, 2019. A true and correct of
copy the letter is hereto attached as Exhibit “4.”

18. After Paragon and TNG failed to timely remit contributions for July of 2019, the
Funds demanded that Paragon and TNG comply with its obligations under the Labor Contract and
pay contributions owed through July 31, 2019.

19. Paragon and TNG have averred that their respective obligation to contribute to the
Funds terminated on July 1, 2019.

20. In a September 23, 2019 letter, TNG informed the Funds that, effective July 1,
2019, it began submitting benefit contributions to the SPFPA’s benefit funds, instead of the ITPEU
Funds.

21. Paragon similarly informed the Funds that, effective July 1, 2019, Paragon began
submitting benefit contributions to the SPFPA’s benefit funds, instead of the ITPEU Funds.

22. In a September 30, 2019 email to the ITPEU Contribution Department, Jose A.
Torres, Paragon’s Payroll Manager, stated that the check for the July of 2019 contributions “was
voided because the contribution ended 07/01/2019.” A true and correct of copy the September 30,
2019 email is hereto attached as Exhibit “6.”

23. | InaNovember 6, 2019 letter to Ms. Hagan, Fund Counsel presented Paragon a final
demand for contributions owed. In a November 7, 2019 to Fund Counsel, Ms. Hagan replied that
Paragon was “advised immediately upon certification of the new representative [SPFPA] that
ITPEU would no longer provide medical coverage to the employees” and Paragon had to
contribute to the SPFPA’s health and welfare fund to maintain the employee’s health insurance
coverage. The email also asked if the Welfare Fund maintained coverage for the employees

through July 31, 2019. In a November 12, 2019 email, Fund Counsel notified Ms. Hagan that the
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Funds maintained benefits coverage for employees through July 31, 2019. A true and correct of
copy the November 6, 2019 letter and follow-up email correspondence is hereto attached as Exhibit
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24. No Fund or ITPEU representative advised Paragon or TNG that benefits coverage
for the security guards under the Welfare Fund or Pension Fund would terminate immediately
upon SPFPA’s certification as the bargaining unit’s representative or otherwise before July 31,
2019.

25. Ina further attempt to reconcile the parties’ dispute without resorting to litigation,
on January 10, 2020, Fund Counsel emailed records to Paragon showing that the Welfare Fund
maintained health and welfare benefits for the subject employees during July of 2019.

26. As of the date this Complaint, the Pension Fund and the Welfare Fund have not
received contributions owed for July 2019 from Paragon or TNG.

B. Paragon Failed to Comply with a Lawful Audit Demanded by the Funds.

27. As part of their fiduciary duties under ERISA, the Trustees are required to conduct
periodic examinations of payroll records of contributing employees in order to determine whether
such employers are making all required contributions.

28. On or about October 31, 2018, Fund Counsel informed Paragon that it was selected
by the Trustees for an examination of its payroll records for all installations where Paragon was
obligated to contribute to the Funds.

29. Paragon has refused to provide all requested documents to the accounting firm
selected to conduct the examination of payroll records, despite numerous requests by the Funds.

30. The Plaintiffs cannot accurately determine the crediting of contributions with the

contribution reports provided by Paragon without an audit. The Funds are only requesting that the
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contribution reports comply with industry standards. The Funds have been unsuccessful in their
attempts to amicably resolve the issues relating to the contribution reports.

31. In the above-mentioned November 6, 2019 letter to Ms. Hagan, Fund Counsel
issued a final demand that Paragon cooperate with the audit.

32. As of the date of this Complaint, despite the Funds’ correspondence, Paragon
continues to ignore its obligations by not providing the auditors all documents needed to complete
the audit.

COUNT I

CONTRIBUTIONS UNDER CONTRACT BY PARAGON — SUM CERTAIN

33. The allegations of Paragraphs | through 32 are incorporated by reference as if fully
restated.

34. | Paragon owes the Welfare Fund at least a sum of $70,870.56 and the Pension Fund
at least the sum of $16,400.00 for the non-payment of contributions for the period from July 1,
2019 to July 31, 2019, plus interest and liquidated damages due under the Labor Contract or Trust
Agreement.

35. | The Paragon has not paid the Funds as required by the Labor Contract or Trust
Agreement.

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against Paragon and in favor of the Welfare Fund for at least $70,870.56
and the Pension Fund for at least $16,400.00, together with liquidated damages, interest and costs,
including reasonable attorneys’ fees incurred in this action or the collection or enforcement of any

judgment as provided in the Labor Contract or Trust Agreement.
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(2) Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate.

COUNT II
CONTRIBUTIONS UNDER ERISA BY PARAGON —~SUM CERTAIN

36. The allegations of Paragraph 1 through 35 are incorporated by reference as
if fully restated.

37. Paragon has failed to pay contributions to the Funds in violation of 29
U'S.C. § 1145,

38. Paragon owes the Welfare Fund at least a sum of $70,870.56 and the
Pension Fund at least the sum of $16,400.00 for the non-payment of contributions for the period
from July 1, 2019 to July 31, 2019 and any unpaid liquidated damages due under the Labor
Contract or Trust Agreement. In addition, Paragon has failed to submit remittance reports in
violation of the Labor Contract and trust agreements.

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against Paragon and in favor of the Welfare Fund for at least
$70,870.56 and the Pension Fund for at least the sum of $16,400.00, together with interest at the
rate prescribed by 26 U.S.C. § 6621, liquidated damages equal to the greater of the interest on the
unpaid contributions or liquidated damages provided by the documents governing the Funds or
statute and reasonable attorneys’ fees and costs incurred in this action or the collection or
enforcement of any judgment.

(2) Grant such other or further relief, legal or equitable, as may be just, necessary or

appropriate.
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COUNT III
AUDIT —- PARAGON

39. The allegations of Paragraph 1 through 38 are incorporated by reference as if fully
restated.

40. Paragon is obligated to permit the Funds to audit its records and to cooperate in
determining the contributions owed to the Funds.

41. The amount of contributions Paragon is required to pay to the Funds is based upon
hours worked and wages paid to employees performing work covered by the Labor Contract.
Contributing Employers to the Funds submit contributions and remittance reports on a self-
reporting basis. The Trustees of the Funds are required to have random compliance payroll audits
of Contributing Employers as part of their fiduciary duties.

42. The books, records and information necessary to perform the compliance audit of
Paragon are in the exclusive possession, custody and control of Paragon.

43. Paragon has failed to provide the requested documents demanded for the period of
January 1, 2018 to July 31, 2019.

44. _ Paragon is required by the Labor Contract, Trust Agreements or applicable law to
permit the Funds to audit its records and to cooperate in determining the contributions due the
Funds.

45. All conditions precedent to equitable relief have been satisfied.

WHEREFORE, Plaintiffs ask that the Court:

(a) Enjoin Paragon, Paragon’s officers, agents, servants, employees, attorneys and all

others in active concert or participation with it to permit an audit of all records under the actual or

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constructive control of Paragon and, in the absence of records, to cooperate in alternative methods
for the determination of work for which contributions are due, and;

(b) Grant such other or further relief, legal or equitable, as is just, necessary or
appropriate.

COUNT IV
CONTRIBUTIONS UNDER CONTRACT BY PARAGON AFTER AUDIT

46. The allegations of Paragraph 1 through 45 are incorporated by reference as if fully
restated.

47. On information and belief, Paragon has failed to make contributions to the Funds
as required by its Labor Contract or Trust Agreements in a period not barred by any applicable
statute of limitations or similar bar.

48. On information and belief, the Funds have been damaged by the failure of Paragon
to make contributions as required by the Labor Contract or Trust Agreements and the failure to
submit to a compliance payroll audit.

WHEREFORE, Plaintiffs ask that the Court:

(a) After an audit, enter judgment against Paragon and in favor of the Funds for the
amount of contributions found due and owing by an audit together with liquidated damages,
interest and costs, including reasonable attorneys’ fees incurred in this action or the collection and
enforcement of any judgment, as provided in the Labor Contract or Trust Agreements.

(b) Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate, including the requirement for Paragon to submit contribution reports in compliance

with industry standards.

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COUNT V
CONTRIBUTIONS UNDER ERISA AFTER AUDIT — PARAGON

49. The allegations of Paragraph 1 through 48 are incorporated by reference as if fully
restated.

50. On information and belief, Paragon has failed to make contributions to the Funds
in violation of 29 U.S.C. § 1145 in a period not barred by an applicable statute of limitations or
similar bar.

51. The Plaintiffs are without sufficient information or knowledge to plead the precise
nature, extent and amount of Paragon’s delinquency since the books, records and information
necessary to determine this liability are in the possession, control or knowledge of Paragon.

52. On information and belief, the Funds have been damaged by Paragon’s violation of
29 U.S.C. §1145.

WHEREFORE, Plaintiffs ask that the Court:

(a) After an audit, enter judgment against Paragon and in favor of the Funds for
contributions found due and owing by the audit, together with interest at the rate prescribed by 26
U.S.C. § 6621 from the due date for payment until the date of actual payment, liquidated damages
equal to the greater of the interest on the unpaid contributions or liquidated damages provided by
the plan document or statute and reasonable attorneys’ fees and costs incurred in this action and in
connection with any proceedings to enforce or collect any judgment.

()) Grant such other or further relief, legal or equitable, as may be just, necessary or

appropriate.

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COUNT VI
CONTRIBUTIONS UNDER CONTRACT BY TNG — SUM CERTAIN

53. The allegations of Paragraphs 1 through 52 are incorporated by reference as if
fully restated.

54. TNG owes the Welfare Fund at least a sum of $6,345.70 and the Pension Fund at
least the sum of $ 1,400.00 for the non-payment of contributions for the period from July 1, 2019
to July 31, 2019 and any unpaid liquidated damages due under the Labor Contract or Trust
Agreement. In addition, TNG has failed to submit remittance reports in violation of the Labor
Contract and trust agreements.

55. The TNG has not paid the Funds as required by the Labor Contract or Trust
Agreement.

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against TNG and in favor of the Welfare Fund for at least $6,345.70
and the Pension Fund for at least the sum of $ 1,400.00, together with liquidated damages, interest
and costs, including reasonable attorneys’ fees incurred in this action or the collection or
enforcement of any judgment as provided in the Labor Contract or Trust Agreement.

(2) Enjoin TNG, TNG’s officers, agents, servants, employees, attorneys and all others in
active concert or participation with it to submit remittance reports to the Funds as required by the
Labor Contract and trust agreements.

(3) After TNG submits the remittance reports, enter judgment against TNG and in favor of
the Funds for further contributions found due and owing by the remittance reports, together with
interest at the rate prescribed by 26 U.S.C. § 6621 from the due date for payment until the date of

actual payment, liquidated damages equal to the greater of the interest on the unpaid contributions

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or liquidated damages provided by the plan document or statute and reasonable attorneys’ fees and
costs incurred in this action and in connection with any proceedings to enforce or collect any
judgment.
(4) Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate.
COUNT VII

CONTRIBUTIONS UNDER ERISA BY TNG —- SUM CERTAIN

56. The allegations of Paragraph | through 55 are incorporated by reference as if fully
restated.

57. TNG has failed to pay contributions to the Funds in violation of 29 U.S.C. § 1145.

58. TNG owes the Welfare Fund at least a sum of $6,345.70 and the Pension Fund at
least the sum of $ 1,400.00 for the non-payment of contributions for the period from July 1, 2019
to July 31, 2019 and any unpaid liquidated damages due under the Labor Contract or Trust
Agreement. In addition, TNG has failed to submit remittance reports in violation of the Labor
Contract and trust agreements.

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against TNG and in favor of the Welfare Fund for at least a sum of
$6,345.70 and the Pension Fund for at least the sum of $1,400.00 together with interest at the rate
prescribed by 26 U.S.C. § 6621, liquidated damages equal to the greater of the interest on the
unpaid contributions or liquidated damages provided by the documents governing the Funds or
statute and reasonable attorneys’ fees and costs incurred in this action or the collection or

enforcement of any judgment.

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(2) Enjoin TNG, TNG’s officers, agents, servants, employees, attorneys and all others in
active concert or participation with it to submit remittance reports to the Funds as required by the
Labor Contract and trust agreements.

(3) After TNG submits the remittance reports, enter judgment against TNG and in favor of
the Funds for further contributions found due and owing by the remittance reports, together with
interest at the rate prescribed by 26 U.S.C. § 6621 from the due date for payment until the date of
actual payment, liquidated damages equal to the greater of the interest on the unpaid contributions
or liquidated damages provided by the plan document or statute and reasonable attorneys’ fees and
costs incurred in this action and in connection with any proceedings to enforce or collect any
judgment.

(4) Grant such other or further relief, legal or equitable, as may be just, necessary or

appropriate.

Respectfully submitted,

FREEDMAN AND LORRY, P.C.
f)

BY: S woe A flog

SUSAN A. MURRAY, ESQUIRE
Attorney for Plaintiffs

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Date: VittnrK.. 2 | , 2020

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